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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA

                          MISSOULA DIVISION


[JNITED STATES OF AMERICA,        )    CR 08-40-M-DWM
                                  )
           Plaintiff,             )
                                  )
     VS.                          )    ORDER
                                  )
ANTHONY MICHAEL CONNER,           )
                                  )
           Defendant.             )



     United States Magistrate Judge Jeremiah C. Lynch entered

Findings and Recommendation in this matter on August 6 , 2008.
Neither party objected and therefore they are not entitled to de

nova review of the record.     28 U.S.C. S 636(b)(1); United States

v. Revna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).             This Court

will review the Findings and Recommendation for clear error.

McDonnell Doualas C o r ~ .v. Commodore Bus. Mach., Inc., 656 F.2d

1309, 1313 (9th Cir. 1981).     Clear error exists if the Court is

left with a "definite and firm conviction that a mistake has been

committed."   United States v. Svrax, 235 F.3d 422, 427 (9th Cir.

2000).

     Judge Lynch recommended this Court accept Anthony Michael
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Conner's guilty plea after Conner appeared before him pursuant to

Federal Rule of Criminal Procedure 11, and entered his plea of

guilty to the charge of Conspiracy to Destroy or Damage Property

of an Energy Facility, in violation of 18 U.S.C. § 371 and 18

U.S.C. 5 1366(b), as set forth in the Indictment.

     I find no clear error in Judge Lynch's Findings and

Recommendation (dkt # 5 9 ) and I adopt them in full.

     Accordingly, IT IS HEREBY ORDERED that Defendant's motion to

change plea (dkt #36) is GRANTED.

     DATED this &gay        of August, 2008.
